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                     UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 CASSANDRA Q. MAURICE                       CIVIL ACTION NO:

                       Plaintiff,

                 vs.

 TOTAL TRANSPORTATION OF                    JURY TRIAL DEMANDED
 MISSISSIPPI, LLC and
 U.S. EXPRESS LEASING, INC.                 ELECTRONICALLY FILED

                       Defendants.

                                    NOTICE OF REMOVAL

TO THE HONORABLE JUDGES IN THE UNITED STATES DISTRICT
COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA:

         Defendants, Total Transportation of Mississippi, LLC and U.S. Xpress

Leasing, Inc., (improperly identified as U.S. Express Leasing, Inc. in the caption)

(hereinafter referred to collectively as “Defendants”), by and through their

attorneys, Rawle & Henderson LLP, respectfully aver as follows:

         1.      On September 21, 2018, Plaintiff filed a Praecipe for Writ of

Summons in the Court of Common Pleas of Cumberland County, Pennsylvania.

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         2.      Thereafter, on September 27, 2018, Defendants filed a Praecipe for

Rule to File Complaint.

         3.      Thereafter, Plaintiff filed her Complaint in the Court of Common

Pleas of Cumberland County, Pennsylvania on or about November 2, 2018. See

Exhibit A – Plaintiff’s Complaint.

         4.      On or about November 2, 2018, Defendants were served with

Plaintiff’s Complaint.

         5.      This Notice of Removal is timely filed in accordance with 28 U.S.C.

§1446(b) because the Notice of Removal is being filed within thirty (30) days after

service of the Complaint. Moreover, this Removal is being filed within thirty (30)

days after the Complaint was filed in state court.

         6.      This Honorable Court has original jurisdiction pursuant to 28 U.S.C.

§1332 based on diversity of citizenship.

         7.      This action is subject to removal pursuant to 28 U.S.C. §1441.

         8.      Plaintiff’s Complaint alleges that she suffered various injuries and

damages as a result of a March 26, 2017 motor vehicle accident that occurred in

Middleton Township, Cumberland County, Pennsylvania. See generally, Exhibit

A.

         9.      In Plaintiff’s Complaint, Plaintiff demands judgment against

Defendants, for compensatory damages, specifically alleging, inter alia:


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         24. As a direct and proximate result of the accident and the
         Defendants’ conduct, Ms. Maurice suffered physical and personal
         injuries, all caused by the negligence and carelessness of Defendant
         (sic), including the following:
                 a.    Hepatic laceration involving segment IVb;
                 b.    Left renal laceration in the upper pole and interpolar
                       region; of the left kidney extending to the capsule;
                 c.    Hyponatremia;
                 d.    Hypomagnesemia;
                 e.    Hyperphosphatemia;
                 f.    Acute blood loss anemia;
                 g.    Abrasions to the right hand;
                 h.    Forehead abrasion;
                 i.    Pain in back; and
                 j.    Continued pain and suffering.

         25. As a direct and proximate result of the injures (sic) described
         herein, Plaintiff, Cassandra Maurice, suffered great pain and
         discomfort, sustained medical and other expenses, including her
         deductible of $500.00, with her automobile insurer, and loss of
         earnings and future earnings, and was required to seek medical
         attention, all to her detriment and loss, which are claimed as damages
         herein, as well as damages allowed by Pennsylvania law.

         26. As a direct and proximate result of the injuries described herein,
         Plaintiff Cassandra Maurice has been unable to enjoy the usual
         activities of life of a physically active individual her age, and has
         suffered a loss of enjoyment of life, loss of happiness, pain, suffering
         and emotional upset.

         27. As a direct and proximate result of the injuries sustained, and
         the negligence of the Defendants, Plaintiff Cassandra Maurice is at
         risk for future medical complications and may, in the future, suffer
         additional medical symptoms, expenses, losses and damages,
         including pain, suffering, emotional upset and the loss of life’s
         pleasures, which are claimed as damages, together with all other
         damages allowed by law.

         WHEREFORE, Plaintiff, Cassandra Maurice, demands judgment in her
         favor against Defendants, for an amount which exceeds the jurisdictional

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         amount requiring arbitration pursuant to Pa. R.Civ.P 1021(c), together with
         interest, medical costs and expenses, property damage to her vehicle, lost
         wages, cost of suit, delay damages, and all damages permitted under
         Pennsylvania law.

See Exhibit A at paragraphs 24-27 and “Wherefore Clause.”

         10.    A defendant's right to remove is determined according to allegations

of the complaint at the time the defendant files the notice of removal. Keene Corp.

v. United States, 508 U.S. 200, 113 S.Ct. 2035, 2040, 124 L.Ed.2d 118 (1993);

Pullman Co. v. Jenkins, 305 U.S. 534, 537, 59 S.Ct. 347, 348-49, 83 L.Ed. 334

(1939).

         11.    In removal cases, determining the amount in controversy begins with

a reading of the complaint filed in the state court. Samuel-Bassett v. KIA Motors

America, Inc., 357 F.3d 392, 398 -399 (3d Cir. 2004); Angus v. Shiley, Inc., 989

F.2d 142, 145 (3d Cir. 1993) (citing Horton v. Liberty Mut. Ins. Co., 367 U.S. 348,

353, 81 S.Ct. 1570, 1573, 6 L.Ed.2d 890 (1961)) (As a general rule, the court must

decide the amount in controversy from the complaint itself).

         12.    Plaintiff’s Complaint sets forth multiple claims in excess of the

jurisdictional limit of $75,000. See generally, Exhibit A.

         13.    At all times material hereto, Defendant, Total Transportation of

Mississippi, LLC, had a principal place of business located at 125 Riverview

Drive, Richland, Rankin County, Mississippi 39218 and was a limited liability

corporation organized under the laws of Mississippi.

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         14.     At all times material hereto, the members of Defendant Total

Transportation of Mississippi, LLC, were John Stomps, an adult individual and

Mississippi resident, and Transportation Investments, Inc., a Mississippi

corporation located at 125 Riverview Drive, Richland, Rankin County, Mississippi

39218.

         15.    Therefore, Defendant Total Transportation of Mississippi, LLC is

deemed to be a citizen of the State of Mississippi.

         16.    At all times material hereto, Defendant, U.S. Xpress Leasing, Inc.,

had a principal place of business located at 4080 Jenkins Road, Chattanooga,

Hamilton County, Tennessee 37421-1174, and is a corporation organized under the

laws of Tennessee and thus is deemed to be a citizen of the State of Tennessee.

         17.    At all times material hereto, Plaintiff Cassandra Q. Maurice, is and

was a citizen of the Commonwealth of Pennsylvania, residing at 331 North 21st

Street, Apartment #3, Camp Hill, Cumberland County, Pennsylvania 17011.

         18.    Diversity of citizenship within the meaning of 28 U.S.C. §1332, exists

between the Plaintiff and the Defendants since:

                (a)   Plaintiff is a citizen and resides in the Commonwealth of

         Pennsylvania

                (b)   Defendants are not citizens of the Commonwealth of

         Pennsylvania.


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         19.    Furthermore, diversity of citizenship existed at the time the action

sought to be removed was commenced and continues through the time of filing of

this notice, such that Defendants are entitled to removal pursuant to 28 U.S.C.

§1441, as amended, and 28 U.S.C. §1446.

         20.    Venue is properly laid in this district because the action sought to be

removed is pending in this district. 28 U.S.C. §1446 (a).

         21.    Written notice of this Notice of Removal is being given to Plaintiff’s

counsel as required by law.

         22.    Pursuant to 28 U.S.C. §1146(d), a copy of this Notice of Removal is

being filed with the Prothonotary of the Court of the Common Pleas of

Cumberland County.

         WHEREFORE, Defendants, Total Transportation of Mississippi, LLC and

U.S. Xpress Leasing, Inc. (improperly identified as U.S. Express Leasing, Inc. in

the caption), ask this Honorable Court to remove the above-captioned action now

pending in the Court of Common Pleas of Cumberland County, Pennsylvania, to

be heard therefrom by this Honorable Court.

                                         RAWLE & HENDERSON LLP



                                         By: __________________________
                                               Gary N. Stewart, Esquire
                                               Attorney I.D. No. 67353
                                               David R. Chludzinski, Esquire

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                                              Attorney I.D. No. 200702
                                              Payne Shoemaker Building
                                              240 N. Third Street, 9th Floor
                                              Harrisburg, Pennsylvania 17101
                                              gstewart@rawle.com
                                              (717) 234-7700
Dated: November 28, 2018                      Attorneys for Defendants




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                            CERTIFICATE OF SERVICE

         I hereby certify that on today’s date, a true and correct copy of the Notice of

Removal was served by first-class mail, postage prepaid, upon all attorneys of

record, addressed as follows:

                              David B. Dowling, Esq.
                           CUNNINGHAM, CHERNICOFF
                             & WARSHAWSKY, P.C.
                                   P.O. Box 60457
                             Harrisburg, PA 17106-0457
                               Attorneys for Plaintiff


                                   RAWLE & HENDERSON LLP




                                   By: __________________________
                                         Gary N. Stewart, Esquire


Dated: November 28, 2018




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